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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                               Chapter 15

PERFORADORA ORO NEGRO, S. DE R.L.                    Case No. 18-11094 (SCC)
DE C.V., et al.                                      (Jointly Administered)

Debtors in a Foreign Proceeding.



GONZALO GIL-WHITE, PERSONALLY                        Adv. Pro. No. 19-01294
AND IN HIS CAPACITY AS FOREIGN
REPRESENTATIVE OF PERFORADORA
ORO NEGRO, S. DE R.L. DE C.V. AND
INTEGRADORA DE SERVICIOS
PETROLEROS ORO NEGRO, S.A.P.I. DE
C.V.

                      Plaintiff,

              -against-

ALP ERCIL; ALTERNA CAPITAL
PARTNERS, LLC;
AMA CAPITAL PARTNERS, LLC;
ANDRES CONSTANTIN ANTONIUS-
GONZÁLEZ; ASIA RESEARCH AND
CAPITAL MANAGEMENT LTD.; CQS
(UK) LLP; FINTECH ADVISORY, INC.;


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DEUTSCHE BANK MÉXICO, S.A.,
INSTITUCIÓN DE BANCA MÚLTIPLE;
GARCÍA GONZÁLEZ Y BARRADAS
ABOGADOS, S.C.; GHL INVESTMENTS
(EUROPE) LTD.; JOHN FREDRIKSEN;
KRISTAN BODDEN; MARITIME
FINANCE COMPANY LTD.; NOEL BLAIR
HUNTER COCHRANE, JR; ORO NEGRO
PRIMUS PTE., LTD.; ORO NEGRO
LAURUS PTE., LTD.; ORO NEGRO
FORTIUS PTE., LTD.; ORO NEGRO
DECUS PTE., LTD.; ORO NEGRO
IMPETUS PTE., LTD.; PAUL MATISON
LEAND, JR.; ROGER ALAN BARTLETT;
ROGER ARNOLD HANCOCK; SEADRILL
LIMITED; SHIP FINANCE
INTERNATIONAL LTD.; and DOES 1-100

                       Defendants.


                     MOTION OF SEADRILL LIMITED AND
             FINTECH ADVISORY INC. FOR LEAVE TO FILE UNDER SEAL

         Pursuant to the Confidentiality Agreement and Stipulated Protective Order (the

“Protective Order”), agreed to by and among: (1) Alonso Del Val Echeverria, in his capacity as

foreign representative of (a) Perforadora Oro Negro, S. de R.L. de C.V. and (b) Integradora de

Servicios Petroleros, S.A.P.I. de C.V.; and (2) Seadrill Limited (“Seadrill”) and Fintech

Advisory Inc. (“Fintech”)[ECF #169], Seadrill and Fintech file this motion (the “Motion”),

pursuant to Section 107(b) of the Bankruptcy Code, Rule 9018 of the Federal Rules of

Bankruptcy Procedure, Local Bankruptcy Rule 9018-1 and the Protective Order, for entry of an

order substantially in the form of Exhibit A to this Motion granting permission to file under seal

redacted copies of the Motion to Dismiss the Complaint [ECF 1, 4 &9] filed by Seadrill and

Fintech in the above-captioned adversary proceeding (the “MTD”) [ECF Nos. 17, 35 and 36]. In

support thereof, Seadrill and Fintech respectfully represent as follows:



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                                            BACKGROUND

         1.        Mr. Del Val Echeverria commenced this Chapter 15 proceeding on April 20,

2018. On June 6, 2019, his successor as foreign representative, Gonzalo Gil-White (the “Foreign

Representative”) commenced this adversary proceeding by filing the Complaint against Seadrill

and Fintech and other defendants as set forth in the caption above. The Complaint was eventually

refiled on June 12 [ECF #4] and July 10 [ECF #9] to address non-substantive issues. On August

26, 2019, Seadrill and Fintech filed the MTD.

         2.        Paragraph 15 of the Protective Order provides:

             Sealing of Designated Material Filed With Or Submitted To Court: In the
             event that Receiving Party seeks to file documents with the Court that contain,
             identify, or reference Designated Materials, including pleadings, motions, or
             other papers, Receiving Party shall file a motion to seal pursuant to Local Rule
             9018-1, simultaneously with a redacted public copy of any such pleadings,
             motions, and/or other papers redacting the Designated Materials.

                                        RELIEF REQUESTED

         3.        By this Motion, Seadrill and Fintech seek leave to file unredacted copies of the

MTD under seal and redacted copies of the MTD on the docket, without prejudice to the rights of

any interested party to seek a subsequent determination from the Court that certain of the

redacted materials not be kept under seal.

                                 BASIS FOR RELIEF REQUESTED

         4.        Pursuant to Paragraph 15 of the Protective Order, if a Party (as defined in the

Protective Order) desires to file with the Court any material designated as “Confidential” or

“Highly Confidential,” the Party desiring to file the material “shall file a motion to seal pursuant

to Local Rule 9018-1, simultaneously with a redacted public copy of any such pleadings,

motions, and/or other papers redacting the Designated Materials.” Accordingly, Seadrill and

Fintech file this Motion.


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          5.    Section 107(b) of the Bankruptcy Code provides in pertinent part: “On request of

a party in interest, the bankruptcy court shall, and on the bankruptcy court’s own motion, the

bankruptcy court may – (1) protect an entity with respect to a trade secret or confidential

research, development, or commercial information . . . .” 11 U.S.C. § 107(b)(1). Bankruptcy

Rule 9018 sets forth the procedure by which a party may move for relief under 11 U.S.C. §

107(b).

          6.    The MTD describes materials that the Foreign Representative identified in his

Complaint, some of which were designated as “Confidential” or “Highly Confidential” by

Seadrill and Fintech. Seadrill and Fintech therefore request authority to file unredacted copies of

the MTD under seal and redacted versions on the docket in order to comply with the terms of the

Protective Order. Seadrill and Fintech seek this relief without prejudice to their right to seek a

subsequent determination from the Court that such materials should not be treated confidentially.

                                                NOTICE

          7.    Notice of this Motion has been provided to all individuals receiving ECF notifications in

these Chapter 15 cases.




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         WHEREFORE, Seadrill and Fintech respectfully request entry of an order, in the

form submitted herewith as Exhibit A: (1) authorizing Seadrill and Fintech to file unredacted

copies of the MTD under seal and redacted copies of the MTD on the docket; (2) preserving the

right of any party to seek a determination from the Court that such materials not be treated

confidentially; and (3) granting such other and further relief as this Court deems appropriate.

Dated: August 26, 2019
       New York, New York


                                                     WILK AUSLANDER LLP


                                                     By:    /s/ Julie Cilia
                                                            Jay S. Auslander
                                                            Eric J. Snyder
                                                            Natalie Shkolnik
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                                                     Counsel for Seadrill Limited and
                                                     Fintech Advisory Inc.




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                               EXHIBIT A




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------- X
                                                          :            Chapter 15
In re:                                                    :
                                                          :            Case No. 18-11094(SCC)
PERFORADORA ORO NEGRO, S. DE R.L. :
DE C.V., et al.,                                          :            (Jointly Administered)
                                                          :
Debtors in a Foreign Proceeding.                          :
                                                          :
--------------------------------------------------------- X

                        [PROPOSED] ORDER GRANTING MOTION OF
                     SEADRILL LIMITED AND FINTECH ADVISORY INC.
                   FOR LEAVE TO FILE MOTION TO DISMISS UNDER SEAL

           Upon the motion (the “Motion”) of Seadrill Limited (“Seadrill”) and Fintech Advisory

Inc. (“Fintech”), pursuant to Bankruptcy Code section 107(b), Rule 9018 of the Federal Rules of

Bankruptcy Procedure, Local Bankruptcy Rule 9018-1 and the Protective Order1 governing this

matter, for entry of an order granting permission to file under seal unredacted copies of the

motion (the “MTD”) filed by Seadrill and Fintech [ECF #17, 35 and 36] to dismiss the

Complaint [ECF ## 1,4 & 9] filed in this Adversary Proceeding; and the Court having

jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157

and 1334; and the Court having found that the legal and factual bases set forth in the Motion

establish just cause for the relief granted herein; and after due deliberation and sufficient cause

appearing therefore;

IT IS HEREBY ORDERED THAT:

           1.       The Motion is GRANTED to the extent set forth herein.

           2.       Pursuant to section 107(b) of the Bankruptcy Code, Bankruptcy Rule 9018 and




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    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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Local Bankruptcy Rule 9018-1(b), Seadrill and Fintech are authorized to file the MTD under

seal.

         3.       The information in the unredacted copies of the MTD shall remain under seal and

shall not be made available to anyone until such time as the Court may direct, except that copies

shall be provided to (a) the Court, (b) the Office of the United States Trustee, and (c) other

interested parties, in the discretion of the Producing Party (as defined in the Protective Order),

subject to an appropriate nondisclosure agreement.

         4.       Any party in interest seeking access to the unredacted copies of the MTD shall

file an appropriate motion with the Court seeking such relief on appropriate notice.

         5.       This Order is without prejudice to the rights of any party in interest, or the United

States Trustee, to seek to unseal the MTD or any part thereof.

         6.       At the conclusion of this Chapter 15 proceeding, Seadrill and Fintech shall unseal

or dispose of the confidential information governed by this Order.

         7.       This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation, interpretation and/or enforcement of this Order.

Dated:        ____________, 2019
              New York, New York



                                                     _____________________________________
                                                     HONORABLE SHELLEY C. CHAPMAN
                                                     UNITED STATES BANKRUPTCY JUDGE




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